                         Case 12-15107-RBR                       Doc 88          Filed 04/25/18               Page 1 of 17



                                          UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                             FORT LAUDERDALE DIVISION

In re:                                                                 §      Case No. 12-15107-RBR
                                                                       §
CHARLES RICHARD WILLIAMSON                                             §
JUDITH E WILLIAMSON                                                    §
                                                                       §
                            Debtors                                    §

                                     AMENDED TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 02/29/2012. The
        undersigned trustee was appointed on 02/29/2012.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                          $209,617.88

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                    $0.00
                          Administrative expenses                                                                                    $1,530.51
                          Bank service fees                                                                                            $822.52
                          Other Payments to creditors                                                                                $4,841.49
                          Non-estate funds paid to 3rd Parties                                                                           $0.00
                          Exemptions paid to the debtor                                                                                  $0.00
                          Other payments to the debtor                                                                                   $0.00

                          Leaving a balance on hand of1                                                                          $202,423.36

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.



1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)
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     6. The deadline for filing non-governmental claims in this case was 07/18/2012 and the deadline
        for filing government claims was 08/27/2012. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $11,156.36. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $1,408.20 as interim compensation and now requests the sum of
$9,748.16, for a total compensation of $11,156.362. In addition, the trustee received reimbursement
for reasonable and necessary expenses in the amount of $122.31, and now requests reimbursement for
expenses of $564.98, for total expenses of $687.29.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 04/25/2018                                                         By:       /s/ Sonya L. Salkin
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)
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                                                                            FORM 1
                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                           Exhibit A
                                                                 ASSET CASES
Case No.:                     12-15107-RBR                                      Trustee Name:                                                      Sonya L. Salkin
Case Name:                    WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITHDate
                                                                                E Filed (f) or Converted (c):                                      02/29/2012 (f)
For the Period Ending:        4/25/2018                                                               §341(a) Meeting Date:                        04/10/2012
                                                                                                      Claims Bar Date:                             07/18/2012

                         1                                  2                      3                            4                         5                          6

                 Asset Description                      Petition/          Estimated Net Value             Property                 Sales/Funds              Asset Fully
                  (Scheduled and                      Unscheduled         (Value Determined by             Abandoned               Received by the        Administered (FA) /
             Unscheduled (u) Property)                   Value                   Trustee,            OA =§ 554(a) abandon.             Estate               Gross Value of
                                                                         Less Liens, Exemptions,                                                           Remaining Assets
                                                                            and Other Costs)

 Ref. #
1       Homestead located at 6707 NW                  $68,240.00                             $0.00                                               $0.00                     FA
        58th St, Tamarac
 Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 14
2        Cash on hand.                                          $20.00                       $0.00                                               $0.00                     FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 14
3      Bank of America - Checking                      $1,362.73                             $0.00                                               $0.00                     FA
       acct. ending in 7113
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 14
4      Household Goods and                              $605.00                              $0.00                                               $0.00                     FA
       Furnishings
Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 14
5        Wearing Apparel                                        $50.00                       $0.00                                               $0.00                     FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 14
6      Wife only - rollover from                      $9,018.95                              $0.00                                               $0.00                     FA
       401(k) - BOA IRA
Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 14
7        2008 Ford Focus                                   $5,219.00                     $2,075.00                                            $2,075.00                    FA
Asset Notes:        debtor provided proof of insurance
8        2007 Honda Civic Sedan                            $6,547.00                     $2,075.00                                            $2,075.00                    FA
Asset Notes:        debtor provided proof of insurance
9        2009 Used Toyota Yaris                            $8,592.00                         $0.00                                               $0.00                     FA
Asset Notes:        debtor provided proof of insurance
10       2008 Used Toyota Yaris                            $8,289.00                         $0.00                                               $0.00                     FA
Asset Notes:        debtor provided proof of insurance
11       2011 Tax Return                        (u)        $2,432.00                     $2,432.00                                            $2,432.00                    FA
12       Personal Injury Claim                  (u)              $0.00                 $240,000.00                                       $203,035.88                       FA


TOTALS (Excluding unknown value)                                                                                                            Gross Value of Remaining Assets
                                                         $110,375.68                   $246,582.00                                       $209,617.88                 $0.00




     Major Activities affecting case closing:
       1. Trustee re-opened case to administer personal injury claim- motion to approve settlement as approved and funds received. case ready to close.
       2. CBD: 7/18/12; claims reviewed and ok. sls
       3. No tax return needed for supplemental recovery on personal injury claim.


 Initial Projected Date Of Final Report (TFR):            08/31/2013                                                     /s/ SONYA L. SALKIN
 Current Projected Date Of Final Report (TFR):            03/30/2018                                                     SONYA L. SALKIN
                                                             Case 12-15107-RBR          DocFORM
                                                                                            88 Filed
                                                                                                 2 04/25/18            Page 4 of 17                          Page No: 1                 Exhibit B
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-15107-RBR                                                                              Trustee Name:                           Sonya L. Salkin
 Case Name:                       WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                      Bank Name:                              The Bank of New York Mellon
Primary Taxpayer ID #:            **-***3362                                                                                Checking Acct #:                        ******6366
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                          Checking Account
For Period Beginning:             2/29/2012                                                                                 Blanket bond (per case limit):          $73,967,000.00
For Period Ending:                4/25/2018                                                                                 Separate bond (if applicable):

       1                2                              3                                             4                                           5                        6                    7

   Transaction       Check /                        Paid to/                 Description of Transaction                      Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                     Received From                                                              Tran Code            $                     $


04/12/2012            (11)     UNITED STATES TREASURY                 TURNOVER 2011 TAX REFUND PER VERBAL                    1224-000          $2,432.00                                           $2,432.00
                                                                      DEMAND AT 341 MTG. AND ORDER DATED
                                                                      5/31/12
04/30/2012                     The Bank of New York Mellon            Bank and Technology Services Fee                       2600-000                                          $25.00            $2,407.00
05/31/2012                     The Bank of New York Mellon            Bank and Technology Services Fee                       2600-000                                          $25.00            $2,382.00
06/29/2012                     The Bank of New York Mellon            Bank and Technology Services Fee                       2600-000                                          $25.00            $2,357.00
07/05/2012                     CHARLES R OR JUDITH E                  PMT. NO. 1 AND BANK FEE ON ASSETS 7AND 8                  *                $691.66                                         $3,048.66
                               WILLIAMSON                             PER ORDER DATED 5/31/12
                      {7}                                              Acct #BANK FEE; Payment #1                  $12.95    1129-000                                                            $3,048.66
                      {7}                                             Acct #ORDER DATED 5/31/12;                  $345.38    1129-000                                                            $3,048.66
                                                                      Payment #1
                      {8}                                             Acct #BANK FEE; Payment #1                   $12.05    1129-000                                                            $3,048.66
                      {8}                                             Acct #ORDER DATED 5/31/12;                  $321.28    1129-000                                                            $3,048.66
                                                                      Payment #1
07/09/2012                     CHARLES R OR JUDITH E                  PMT. NO. 2 AND BANK FEE ON ASSETS 7 AND 8                 *                $691.66                                         $3,740.32
                               WILLIAMSON                             PER ORDER DATED 5/31/12
                      {7}                                              Acct #BANK FEE; Payment #2                  $12.95    1129-000                                                            $3,740.32
                      {7}                                             Acct #ORDER DATED 5/31/12;                  $345.38    1129-000                                                            $3,740.32
                                                                      Payment #2
                      {8}                                             Acct #BANK FEE; Payment #2                   $12.05    1129-000                                                            $3,740.32
                      {8}                                             Acct #ORDER DATED 5/31/12;                  $321.28    1129-000                                                            $3,740.32
                                                                      Payment #2
07/31/2012                     The Bank of New York Mellon            Bank and Technology Services Fee                       2600-000                                          $25.00            $3,715.32
08/06/2012                     CHARLS R OR JUDITH E WILLIAMSON        PMT. NO. 3 AND BANK FEE ON ASSETS 7 AND 8                 *                $691.66                                         $4,406.98
                                                                      PER ORDER DATED 5/31/12
                      {7}                                              Acct #BANK FEE; Payment #3                  $12.95    1129-000                                                            $4,406.98
                      {7}                                             Acct #ORDER DATED 5/31/12;                  $345.38    1129-000                                                            $4,406.98
                                                                      Payment #3
                      {8}                                             Acct #BANK FEE; Payment #3                   $12.05    1129-000                                                            $4,406.98
                      {8}                                             Acct #ORDER DATED 5/31/12;                  $321.28    1129-000                                                            $4,406.98
                                                                      Payment #3

                                                                                                                            SUBTOTALS           $4,506.98                     $100.00
                                                             Case 12-15107-RBR          DocFORM
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-15107-RBR                                                                              Trustee Name:                           Sonya L. Salkin
 Case Name:                       WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                      Bank Name:                              The Bank of New York Mellon
Primary Taxpayer ID #:            **-***3362                                                                                Checking Acct #:                        ******6366
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                          Checking Account
For Period Beginning:             2/29/2012                                                                                 Blanket bond (per case limit):          $73,967,000.00
For Period Ending:                4/25/2018                                                                                 Separate bond (if applicable):

       1                2                              3                                             4                                           5                        6                    7

   Transaction       Check /                        Paid to/                 Description of Transaction                      Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                     Received From                                                              Tran Code            $                     $


08/31/2012                     The Bank of New York Mellon            Bank and Technology Services Fee                       2600-000                                          $25.00            $4,381.98
09/13/2012                     CHARLES R OR JUDITH E                  PMT. NO. 4 AND BANK FEE ON ASSETS 7 AND 8                 *                $691.66                                         $5,073.64
                               WILLIAMSON                             PER ORDER DATED 5/31/12
                      {7}                                              Acct #BANK FEE; Payment #4                  $12.95    1129-000                                                            $5,073.64
                      {7}                                             Acct #ORDER DATED 5/31/12;                  $345.38    1129-000                                                            $5,073.64
                                                                      Payment #4
                      {8}                                             Acct #BANK FEE; Payment #4                   $12.05    1129-000                                                            $5,073.64
                      {8}                                             Acct #ORDER DATED 5/31/12;                  $321.28    1129-000                                                            $5,073.64
                                                                      Payment #4
09/28/2012                     The Bank of New York Mellon            Bank and Technology Services Fee                       2600-000                                          $25.00            $5,048.64
10/11/2012                     CHARLES R OR JUDITH WILLIAMSON         PMT. NO. 5, PARTIAL PMT. NO. 6 AND BANK                   *                $691.70                                         $5,740.34
                                                                      FEE ON ASSET NO. 7 AND 8 PER ORDER DATED
                                                                      5/31/12
                      {7}                                              Acct #ORDER DATED 5/31/12;                   $0.02    1129-000                                                            $5,740.34
                                                                      Payment #6
                      {7}                                              Acct #BANK FEE; Payment #5                  $12.95    1129-000                                                            $5,740.34
                      {7}                                             Acct #ORDER DATED 5/31/12;                  $345.38    1129-000                                                            $5,740.34
                                                                      Payment #5
                      {8}                                             Acct #ORDER DATED 5/31/12;                    $0.02    1129-000                                                            $5,740.34
                                                                      Payment #6
                      {8}                                             Acct #BANK FEE; Payment #5                   $12.05    1129-000                                                            $5,740.34
                      {8}                                             Acct #ORDER DATED 5/31/12;                  $321.28    1129-000                                                            $5,740.34
                                                                      Payment #5
10/31/2012                     The Bank of New York Mellon            Bank and Technology Services Fee                       2600-000                                          $25.00            $5,715.34
11/30/2012                     The Bank of New York Mellon            Bank and Technology Services Fee                       2600-000                                          $25.00            $5,690.34




                                                                                                                            SUBTOTALS           $1,383.36                     $100.00
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-15107-RBR                                                                                      Trustee Name:                            Sonya L. Salkin
 Case Name:                       WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                              Bank Name:                               The Bank of New York Mellon
Primary Taxpayer ID #:            **-***3362                                                                                        Checking Acct #:                         ******6366
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                           Checking Account
For Period Beginning:             2/29/2012                                                                                         Blanket bond (per case limit):           $73,967,000.00
For Period Ending:                4/25/2018                                                                                         Separate bond (if applicable):

       1                2                                3                                           4                                                     5                       6                      7

   Transaction       Check /                         Paid to/                Description of Transaction                              Uniform           Deposit             Disbursement                 Balance
      Date            Ref. #                      Received From                                                                     Tran Code            $                      $


12/04/2012                     CHARLES R OR JUDITH E                   BAL. OF PMT. NO. 6 (FINAL) AND BANK FEE ON                        *                 $691.66                                            $6,382.00
                               WILLIAMSON                              ASSETS 7 AND 8 PER ORDER DATED 5/31/12
                      {7}                                               Acct #BANK FEE; Payment #6                $12.50             1129-000                                                               $6,382.00
                      {7}                                              Acct #ORDER DATED 5/31/12;                         $270.83    1129-000                                                               $6,382.00
                                                                       Payment #6
                      {8}                                              Acct #BANK FEE; Payment #6                          $12.50    1129-000                                                               $6,382.00
                      {8}                                              Acct #ORDER DATED 5/31/12;                         $395.83    1129-000                                                               $6,382.00
                                                                       Payment #6
12/18/2012                     RABOBANK MIGRATION TRANSFER             TRANSFER TO *********3088               ****1218              9999-000                                          $6,382.00                  $0.00
                               OUT

                                                                                       TOTALS:                                                            $6,582.00                    $6,582.00                  $0.00
                                                                                           Less: Bank transfers/CDs                                           $0.00                    $6,382.00
                                                                                       Subtotal                                                           $6,582.00                      $200.00
                                                                                           Less: Payments to debtors                                          $0.00                        $0.00
                                                                                       Net                                                                $6,582.00                      $200.00



                     For the period of 2/29/2012 to 4/25/2018                                                    For the entire history of the account between 04/12/2012 to 4/25/2018

                     Total Compensable Receipts:                        $6,582.00                                Total Compensable Receipts:                                       $6,582.00
                     Total Non-Compensable Receipts:                        $0.00                                Total Non-Compensable Receipts:                                       $0.00
                     Total Comp/Non Comp Receipts:                      $6,582.00                                Total Comp/Non Comp Receipts:                                     $6,582.00
                     Total Internal/Transfer Receipts:                      $0.00                                Total Internal/Transfer Receipts:                                     $0.00


                     Total Compensable Disbursements:                     $200.00                                Total Compensable Disbursements:                                    $200.00
                     Total Non-Compensable Disbursements:                   $0.00                                Total Non-Compensable Disbursements:                                  $0.00
                     Total Comp/Non Comp Disbursements:                   $200.00                                Total Comp/Non Comp Disbursements:                                  $200.00
                     Total Internal/Transfer Disbursements:             $6,382.00                                Total Internal/Transfer Disbursements:                            $6,382.00
                                                              Case 12-15107-RBR           DocFORM
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-15107-RBR                                                                                         Trustee Name:                           Sonya L. Salkin
 Case Name:                       WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                                 Bank Name:                              Green Bank
Primary Taxpayer ID #:            **-***3362                                                                                           Checking Acct #:                        ******0701
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:
For Period Beginning:             2/29/2012                                                                                            Blanket bond (per case limit):          $73,967,000.00
For Period Ending:                4/25/2018                                                                                            Separate bond (if applicable):

       1                2                                3                                            4                                                      5                       6                      7

   Transaction       Check /                         Paid to/                 Description of Transaction                                Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                      Received From                                                                        Tran Code            $                     $


01/02/2018            (12)     2014 AMS QUALIFIED SETTLEMENT           PAYMENT ON SETTLEMENT PER ORDER DATED                            1242-000        $203,035.88                                        $203,035.88
                               FUND                                    11/16/17 (CP 80)
01/31/2018                     Green Bank                              Bank Service Fee                                                 2600-000                                         $317.06           $202,718.82
02/28/2018                     Green Bank                              Bank Service Fee                                                 2600-000                                         $295.46           $202,423.36
03/30/2018                     Green Bank                              Bank Service Fee                                                 2600-000                                         $337.18           $202,086.18
04/02/2018                     Green Bank                              Reverse bank fee                                                 2600-000                                         ($337.18)         $202,423.36

                                                                                          TOTALS:                                                         $203,035.88                    $612.52           $202,423.36
                                                                                              Less: Bank transfers/CDs                                          $0.00                      $0.00
                                                                                          Subtotal                                                        $203,035.88                    $612.52
                                                                                              Less: Payments to debtors                                         $0.00                      $0.00
                                                                                          Net                                                             $203,035.88                    $612.52



                     For the period of 2/29/2012 to 4/25/2018                                                       For the entire history of the account between 01/02/2018 to 4/25/2018

                     Total Compensable Receipts:                       $203,035.88                                  Total Compensable Receipts:                                 $203,035.88
                     Total Non-Compensable Receipts:                         $0.00                                  Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                     $203,035.88                                  Total Comp/Non Comp Receipts:                               $203,035.88
                     Total Internal/Transfer Receipts:                       $0.00                                  Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                     $612.52                                   Total Compensable Disbursements:                                 $612.52
                     Total Non-Compensable Disbursements:                   $0.00                                   Total Non-Compensable Disbursements:                               $0.00
                     Total Comp/Non Comp Disbursements:                   $612.52                                   Total Comp/Non Comp Disbursements:                               $612.52
                     Total Internal/Transfer Disbursements:                 $0.00                                   Total Internal/Transfer Disbursements:                             $0.00
                                                             Case 12-15107-RBR            DocFORM
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-15107-RBR                                                                                    Trustee Name:                           Sonya L. Salkin
 Case Name:                       WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                            Bank Name:                              Rabobank, N.A.
Primary Taxpayer ID #:            **-***3362                                                                                      Checking Acct #:                        ******8566
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:                          Checking Account
For Period Beginning:             2/29/2012                                                                                       Blanket bond (per case limit):          $73,967,000.00
For Period Ending:                4/25/2018                                                                                       Separate bond (if applicable):

       1                2                                3                                             4                                               5                        6                      7

   Transaction       Check /                          Paid to/                 Description of Transaction                          Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                       Received From                                                                  Tran Code            $                     $


12/19/2012                     RABOBANK MIGRATION TRANSFER              RABOBANK MIGRATION                                        9999-000           $6,382.00                                             $6,382.00
                               IN
12/31/2012                     Rabobank, N.A.                           Bank and Technology Services Fee                          2600-000                                             $10.00            $6,372.00
03/05/2013           10101     PHARIA L.L.C.                            Dividend paid 10.54% on $13,703.88; Claim# 1; Filed:      7100-000                                          $1,444.72            $4,927.28
                                                                        $13,703.88; Reference: 0942
03/05/2013           10102     Discover Bank                            Dividend paid 10.54% on $14,103.02; Claim# 2; Filed:      7100-000                                          $1,486.80            $3,440.48
                                                                        $14,103.02; Reference: 5204
03/05/2013           10103     Discover Bank                            Dividend paid 10.54% on $2,036.97; Claim# 3; Filed:       7100-000                                           $214.75             $3,225.73
                                                                        $2,036.97; Reference: 2835
03/05/2013           10104     Sheridan Emergency Physicians Services   Dividend paid 10.54% on $373.40; Claim# 4; Filed:         7100-000                                             $39.37            $3,186.36
                                                                        $373.40; Reference: 0001
03/05/2013           10105     Quantum3 Group LLC as agent for          Dividend paid 10.54% on $5,495.97; Claim# 5; Filed:       7100-000                                           $579.41             $2,606.95
                                                                        $5,495.97; Reference: 7320/ ANN TAYLOR MC
03/05/2013           10106     Guillermo J. Valenzuela, MD PA           Dividend paid 10.54% on $229.54; Claim# 6; Filed:         7100-000                                             $24.20            $2,582.75
                                                                        $229.54; Reference: 1415
03/05/2013           10107     American Express Centurion Bank          Dividend paid 10.54% on $5,571.12; Claim# 7; Filed:       7100-000                                           $587.33             $1,995.42
                                                                        $5,571.12; Reference: 1000
03/05/2013           10108     UNIVERSITY HOSPITAL                      Dividend paid 10.54% on $165.60; Claim# 8; Filed:         7100-000                                             $17.46            $1,977.96
                                                                        $165.60; Reference: 0259
03/05/2013           10109     PYOD LLC, as assignee of Citibank        Dividend paid 10.54% on $4,244.27; Claim# 9; Filed:       7100-000                                           $447.45             $1,530.51
                                                                        $4,244.27; Reference: 2847
03/05/2013           10110     SONYA L. SALKIN, TRUSTEE                 COMBINED CHECK FOR TRUSTEE                                    *                                             $1,530.51                  $0.00
                                                                        COMPENSATION, EXPENSES AND INTEREST
                                                                         Dividend paid 100.00% on $122.31;     $(122.31)          2200-000                                                                     $0.00
                                                                        Claim# ; Filed: $122.31
                                                                         Dividend paid 100.00% on $1,408.20; $(1,408.20)          2100-000                                                                     $0.00
                                                                        Claim# ; Filed: $1,408.20




                                                                                                                                 SUBTOTALS            $6,382.00                     $6,382.00
                                                              Case 12-15107-RBR         DocFORM
                                                                                            88 Filed
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          12-15107-RBR                                                                                      Trustee Name:                            Sonya L. Salkin
Case Name:                        WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                              Bank Name:                               Rabobank, N.A.
Primary Taxpayer ID #:            **-***3362                                                                                        Checking Acct #:                         ******8566
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                           Checking Account
For Period Beginning:             2/29/2012                                                                                         Blanket bond (per case limit):           $73,967,000.00
For Period Ending:                4/25/2018                                                                                         Separate bond (if applicable):

      1                 2                                3                                           4                                                     5                       6                      7

  Transaction        Check /                         Paid to/                Description of Transaction                              Uniform           Deposit             Disbursement                 Balance
     Date             Ref. #                      Received From                                                                     Tran Code            $                      $


                                                                                       TOTALS:                                                            $6,382.00                    $6,382.00                  $0.00
                                                                                           Less: Bank transfers/CDs                                       $6,382.00                        $0.00
                                                                                       Subtotal                                                               $0.00                    $6,382.00
                                                                                           Less: Payments to debtors                                          $0.00                        $0.00
                                                                                       Net                                                                    $0.00                    $6,382.00



                     For the period of 2/29/2012 to 4/25/2018                                                    For the entire history of the account between 12/19/2012 to 4/25/2018

                     Total Compensable Receipts:                            $0.00                                Total Compensable Receipts:                                           $0.00
                     Total Non-Compensable Receipts:                        $0.00                                Total Non-Compensable Receipts:                                       $0.00
                     Total Comp/Non Comp Receipts:                          $0.00                                Total Comp/Non Comp Receipts:                                         $0.00
                     Total Internal/Transfer Receipts:                  $6,382.00                                Total Internal/Transfer Receipts:                                 $6,382.00


                     Total Compensable Disbursements:                   $6,382.00                                Total Compensable Disbursements:                                  $6,382.00
                     Total Non-Compensable Disbursements:                   $0.00                                Total Non-Compensable Disbursements:                                  $0.00
                     Total Comp/Non Comp Disbursements:                 $6,382.00                                Total Comp/Non Comp Disbursements:                                $6,382.00
                     Total Internal/Transfer Disbursements:                 $0.00                                Total Internal/Transfer Disbursements:                                $0.00
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         12-15107-RBR                                                                                  Trustee Name:                           Sonya L. Salkin
Case Name:                       WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                          Bank Name:                              Rabobank, N.A.
Primary Taxpayer ID #:           **-***3362                                                                                    Checking Acct #:                        ******8566
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                          Checking Account
For Period Beginning:            2/29/2012                                                                                     Blanket bond (per case limit):          $73,967,000.00
For Period Ending:               4/25/2018                                                                                     Separate bond (if applicable):

      1                 2                                3                                             4                                             5                       6                   7

  Transaction        Check /                         Paid to/                  Description of Transaction                       Uniform           Deposit            Disbursement              Balance
     Date             Ref. #                      Received From                                                                Tran Code            $                     $




                                                                                                                                                                                  NET            ACCOUNT
                                                                                         TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE           BALANCES

                                                                                                                                                $209,617.88                  $7,194.52          $202,423.36




                     For the period of 2/29/2012 to 4/25/2018                                               For the entire history of the case between 02/29/2012 to 4/25/2018

                     Total Compensable Receipts:                        $209,617.88                         Total Compensable Receipts:                                 $209,617.88
                     Total Non-Compensable Receipts:                          $0.00                         Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                      $209,617.88                         Total Comp/Non Comp Receipts:                               $209,617.88
                     Total Internal/Transfer Receipts:                    $6,382.00                         Total Internal/Transfer Receipts:                             $6,382.00


                     Total Compensable Disbursements:                     $7,194.52                         Total Compensable Disbursements:                                 $7,194.52
                     Total Non-Compensable Disbursements:                     $0.00                         Total Non-Compensable Disbursements:                                 $0.00
                     Total Comp/Non Comp Disbursements:                   $7,194.52                         Total Comp/Non Comp Disbursements:                               $7,194.52
                     Total Internal/Transfer Disbursements:               $6,382.00                         Total Internal/Transfer Disbursements:                           $6,382.00




                                                                                                                            /s/ SONYA L. SALKIN
                                                                                                                            SONYA L. SALKIN
                                                           Case 12-15107-RBR CLAIM
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  Case No.                         12-15107-RBR                                                                                  Trustee Name:              Sonya L. Salkin
  Case Name:                       WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                          Date:                      4/25/2018
  Claims Bar Date:                 07/18/2012

 Claim               Creditor Name          Claim           Claim Class        Claim    Uniform     Scheduled    Claim        Amount        Amount           Interest         Tax            Net
  No.:                                      Date                              Status    Tran Code   Amount       Amount       Allowed        Paid                                         Remaining
                                                                                                                                                                                           Balance

        SONYA L. SALKIN,              02/29/2012       Trustee Expenses       Allowed   2200-000         $0.00     $687.29      $687.29          $122.31          $4.02          $0.00       $564.98
        TRUSTEE
         1776 N. PINE ISLAND RD.
         SUITE 218
         PLANTATION FL 33322
        SONYA L. SALKIN,              02/29/2012       Trustee                Allowed   2100-000         $0.00   $11,156.36   $11,156.36     $1,408.20           $69.28          $0.00     $9,748.16
        TRUSTEE                                        Compensation
         1776 N. PINE ISLAND RD.
         SUITE 218
         PLANTATION FL 33322
        KLINE AND SPECTER             01/24/2018       Special Counsel for    Allowed   3210-600         $0.00   $91,200.00   $91,200.00           $0.00          $0.00          $0.00    $91,200.00
        C/O CHRISTINE CLARKE                           Trustee Fees
         1525 Locust Street
         Philadelphia PA 19102
Claim Notes: Per ECF 80 Order dated 11/16/2017
        KLINE AND SPECTER              01/24/2018      Special Counsel for    Allowed   3220-610         $0.00    $5,434.75    $5,434.75           $0.00          $0.00          $0.00     $5,434.75
        C/O CHRISTINE CLARKE                           Trustee Expenses
         1525 Locust Street
         Philadelphia PA 19102
Claim Notes: ECF ecf 80 order dated 11/16/2017
         THE SALKIN LAW FIRM              03/08/2018   Attorney for Trustee   Allowed   3110-000         $0.00    $2,435.00    $2,435.00           $0.00          $0.00          $0.00     $2,435.00
                                                       Fees (Trustee Firm)
         950 S. Pine Island Rd.
         Suite A-150
         PLANTATION FL 33324
Claim Notes: ECF 86
         THE SALKIN LAW FIRM              03/08/2018   Attorney for Trustee   Allowed   3120-000         $0.00     $102.30      $102.30            $0.00          $0.00          $0.00       $102.30
                                                       Expenses (Trustee
                                                       Firm)
          950 S. Pine Island Rd.
         Suite A-150
         PLANTATION FL 33324
Claim Notes: ECF 86
                                                                        Case 12-15107-RBR CLAIM
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  Case No.                            12-15107-RBR                                                                                                      Trustee Name:              Sonya L. Salkin
  Case Name:                          WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                                              Date:                      4/25/2018
  Claims Bar Date:                    07/18/2012

 Claim                Creditor Name                   Claim               Claim Class                 Claim    Uniform     Scheduled    Claim        Amount        Amount           Interest         Tax            Net
  No.:                                                Date                                           Status    Tran Code   Amount       Amount       Allowed        Paid                                         Remaining
                                                                                                                                                                                                                  Balance

          CHARLES RICHARD                          03/13/2018      Surplus Funds Paid to             Allowed   8200-002         $0.00   $51,490.64   $51,490.64           $0.00          $0.00          $0.00    $51,490.64
          WILLIAMSON AND                                           Debtor § 726 (a)(6)
          JUDITH E WILLIAMSON                                      (incl pmts to
                                                                   shareholders & ltd
                                                                   part)
         11715 W. Atlantic Blvd. Apt 4
         Coral Springs FL 33071
Claim Notes: Debtor Surplus
      1   PHARIA L.L.C.                            04/20/2012      General Unsecured §               Allowed   7100-000         $0.00   $13,703.88   $13,703.88     $1,444.72           $87.12          $0.00    $12,259.16
                                                                   726(a)(2)
          C/O WEINSTEIN AND RILEY,
          PS
          PO BOD 3978
          SEATTLE WA 98124-3978
Claim Notes:    --------------------------------------------------------------------------------
                Schedule F Account: XXXXXXXXXXXX0942
      2   DISCOVER BANK                         04/23/2012 General Unsecured §                       Allowed   7100-000         $0.00   $14,103.02   $14,103.02     $1,486.80           $89.66          $0.00    $12,616.22
                                                                 726(a)(2)
          DB Servicing Corporation
          PO Box 3025
          New Albany OH 43054-3025
Claim Notes:    --------------------------------------------------------------------------------
                Schedule F Account: XXXXXXXXXXXX5204
      3   DISCOVER BANK                         04/23/2012 General Unsecured §                       Allowed   7100-000         $0.00    $2,036.97    $2,036.97         $214.75         $12.95          $0.00     $1,822.22
                                                                 726(a)(2)
          DB Servicing Corporation
          PO Box 3025
          New Albany OH 43054-3025
Claim Notes:      --------------------------------------------------------------------------------
                  Schedule F Account: XXXXXXXXXXXX2835
      4   SHERIDAN                                04/26/2012 General Unsecured §                     Allowed   7100-000         $0.00     $373.40      $373.40           $39.37          $2.37          $0.00       $334.03
          EMERGENCY                                                726(a)(2)
          PHYSICIANS SERVICES
           c/o Nationwide Recovery Service
           PO Box 8005
           Cleveland TN 37320-8005
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  Case No.                           12-15107-RBR                                                                                                         Trustee Name:              Sonya L. Salkin
  Case Name:                         WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                                                 Date:                      4/25/2018
  Claims Bar Date:                   07/18/2012

 Claim               Creditor Name                   Claim                Claim Class                 Claim    Uniform     Scheduled     Claim        Amount         Amount           Interest         Tax            Net
  No.:                                                Date                                           Status    Tran Code   Amount       Amount        Allowed         Paid                                         Remaining
                                                                                                                                                                                                                    Balance

     5   QUANTUM3 GROUP               04/27/2012                  General Unsecured §                Allowed   7100-000         $0.00     $5,495.97     $5,495.97         $579.41         $34.94          $0.00      $4,916.56
         LLC AS AGENT FOR                                         726(a)(2)
         World Financial Network Bank
         PO Box 788
         Kirkland WA 98083-0788
Claim Notes:  --------------------------------------------------------------------------------
              Schedule F Account: XXXXXXXXXXXX7320
     6   GUILLERMO J.                         05/14/2012 General Unsecured §                         Allowed   7100-000         $0.00      $229.54       $229.54           $24.20           $1.46         $0.00       $205.34
         VALENZUELA, MD PA                                        726(a)(2)
         7542 St. Andrews Rd.
         Lake Worth FL 33467
     7   AMERICAN EXPRESS                         05/18/2012      General Unsecured §                Allowed   7100-000         $0.00     $5,571.12     $5,571.12         $587.33         $35.42          $0.00      $4,983.79
         CENTURION BANK                                           726(a)(2)
         c/o Becket and Lee LLP
         POB 3001
         Malvern PA 19355-0701
Claim Notes:   --------------------------------------------------------------------------------
               Schedule F Account: XXXXXXXXXXXX8893
     8   UNIVERSITY HOSPITAL                   06/05/2012 General Unsecured §                        Allowed   7100-000         $0.00      $165.60       $165.60           $17.46           $1.05         $0.00       $148.14
                                                                726(a)(2)
         Resurgent Capital Services
         PO Box 1927
         Greenville SC 29602
Claim Notes:     --------------------------------------------------------------------------------
                 Schedule F Account: CHARLES WILLIAMSON
     9   PYOD LLC, AS                            07/13/2012 General Unsecured §                      Allowed   7100-000         $0.00     $4,244.27     $4,244.27         $447.45         $26.98          $0.00      $3,796.82
         ASSIGNEE OF                                              726(a)(2)
         CITIBANK
          c/o Resurgent Capital Services
          PO Box 19008
          Greenville SC 29602
Claim Notes:      --------------------------------------------------------------------------------
                  Schedule F Account: XXXXXXXXXXXX2847
                                                                                                                                        $208,430.11   $208,430.11     $6,372.00           $365.25        $0.00     $202,058.11
                                                          Case 12-15107-RBR CLAIM
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Case No.                      12-15107-RBR                                                                               Trustee Name:               Sonya L. Salkin
Case Name:                    WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITH E                                       Date:                       4/25/2018
Claims Bar Date:              07/18/2012


      CLAIM CLASS SUMMARY TOTALS

                                           Claim Class                         Claim        Amount       Amount                   Interest                Tax                 Net
                                                                               Amount       Allowed       Paid                                                             Remaining
                                                                                                                                                                            Balance


           Attorney for Trustee Expenses (Trustee Firm)                          $102.30       $102.30           $0.00                    $0.00               $0.00                $102.30

           Attorney for Trustee Fees (Trustee Firm)                             $2,435.00    $2,435.00           $0.00                    $0.00               $0.00            $2,435.00

           General Unsecured § 726(a)(2)                                       $45,923.77   $45,923.77     $4,841.49                 $291.95                  $0.00           $41,082.28

           Special Counsel for Trustee Expenses                                 $5,434.75    $5,434.75           $0.00                    $0.00               $0.00            $5,434.75

           Special Counsel for Trustee Fees                                    $91,200.00   $91,200.00           $0.00                    $0.00               $0.00           $91,200.00

           Surplus Funds Paid to Debtor § 726 (a)(6) (incl pmts to             $51,490.64   $51,490.64           $0.00                    $0.00               $0.00           $51,490.64
           shareholders & ltd part)

           Trustee Compensation                                                $11,156.36   $11,156.36     $1,408.20                     $69.28               $0.00            $9,748.16

           Trustee Expenses                                                      $687.29       $687.29      $122.31                       $4.02               $0.00                $564.98
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                                                                                                Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           12-15107-RBR
Case Name:          CHARLES RICHARD WILLIAMSON
                    JUDITH E WILLIAMSON
Trustee Name:       Sonya L. Salkin

                                                               Balance on hand:                    $202,423.36


         Claims of secured creditors will be paid as follows: NONE



                                           Total to be paid to secured creditors:                        $0.00
                                                            Remaining balance:                     $202,423.36

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                   Total          Interim             Proposed
                                                               Requested       Payments to            Payment
                                                                                     Date
SONYA L. SALKIN, TRUSTEE, Trustee Fees                         $11,156.36           $1,408.20         $9,748.16
SONYA L. SALKIN, TRUSTEE, Trustee Expenses                        $687.29            $122.31            $564.98
THE SALKIN LAW FIRM, Attorney for Trustee                       $2,435.00              $0.00          $2,435.00
Fees
THE SALKIN LAW FIRM, Attorney for Trustee                         $102.30              $0.00            $102.30
Expenses
Other: Kline and Specter c/o Christine Clarke,                 $91,200.00              $0.00         $91,200.00
Special Counsel for Trustee Fees
Other: Kline and Specter c/o Christine Clarke,                  $5,434.75              $0.00          $5,434.75
Special Counsel for Trustee Expenses


                          Total to be paid for chapter 7 administrative expenses:                  $109,485.19
                                                             Remaining balance:                     $92,938.17

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                       Total to be paid to prior chapter administrative expenses:                        $0.00
                                                             Remaining balance:                     $92,938.17

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.


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         Allowed priority claims are: NONE



                                                 Total to be paid to priority claims:                    $0.00
                                                                Remaining balance:                  $92,938.17

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $45,923.77 have been allowed and will be
paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim         Proposed
                                                                    of Claim       Payments to         Amount
                                                                                         Date
           1 PHARIA L.L.C.                                        $13,703.88            $1,444.72    $12,259.16
           2 Discover Bank                                        $14,103.02            $1,486.80    $12,616.22
           3 Discover Bank                                          $2,036.97            $214.75      $1,822.22
           4 Sheridan Emergency Physicians                            $373.40             $39.37       $334.03
             Services
           5 Quantum3 Group LLC as agent for                        $5,495.97            $579.41      $4,916.56
           6 Guillermo J. Valenzuela, MD PA                           $229.54             $24.20       $205.34
           7 American Express Centurion Bank                        $5,571.12            $587.33      $4,983.79
           8 UNIVERSITY HOSPITAL                                      $165.60             $17.46       $148.14
           9 PYOD LLC, as assignee of Citibank                      $4,244.27            $447.45      $3,796.82


                                Total to be paid to timely general unsecured claims:                $41,082.28
                                                                Remaining balance:                  $51,855.89

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                       Total to be paid to tardily filed general unsecured claims:                       $0.00
                                                              Remaining balance:                    $51,855.89



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        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                      Total to be paid for subordinated claims:                         $0.00
                                                            Remaining balance:                     $51,855.89

          To the extent funds remain after payment in full of all allowed claims, interest will be paid at the
legal rate of 0.17 percent pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $365.25. The
amounts proposed for payment to each claimant, listed above, shall be increased to include the applicable
interest.

       The amount of surplus returned to the debtor(s) after payment of all claims and interest is
$51,490.64.




UST Form 101-7-TFR (5/1/2011)
